            Case 1:20-cr-00161-MKV Document 2 Filed 02/26/20 Page 1 of 10



      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK
                                                X


      UNITED STATES OF AMERICA

                                                      SEALED INDICTMENT
                  - v. -

                                                      20 Cr.
     SARAH IZHAKI, and
---J ASHLEY LEBOWITZ,
~·-
--
                              Defendants.                                 161
--                                   COUNT ONE
                                                X



                  {Drug Adulteration and Misbranding Conspiracy}

                  The Grand Jury charges:

                  1.    Professional horse racing is a $100 billion global

      industry,   which draws millions of fans each year in the United

      States and around the world.          Racehorses may sell at auction for

      well more than $1,000,000 and compete for purses worth millions of

      dollars.     In   the   United States,        the horse   racing    industry    is

      subject to an array of federal            and state regulations aimed at

      protecting participating horses           and ensuring      fair   competition,

      among other things.      These regulations include proscription of the

      use of performance-enhancing drugs             ("PEDs")   and testing regimes

      designed to ensure that racehorses are not under their influence.

                  2.    At all     times   relevant to this       Indictment,    SARAH

      IZHAKI and ASHLEY LEBOWITZ, the defendants, and others known and

      unknown,    engaged     in   a   scheme   to    distribute    misbranded       and
         Case 1:20-cr-00161-MKV Document 2 Filed 02/26/20 Page 2 of 10



adulterated PEDs for administration to racehorses competing in,

among other locations, Australia, the Middle East, New Jersey, and

the Southern District of New York.

                 3.      SARAH IZHAKI and her daughter, ASHLEY LEBOWITZ, the

defendants, are suppliers of various PEDs.                   In particular,      IZHAKI

and LEBOWITZ distributed an adulterated and misbranded version of

the drug erythropoietin, commonly referred to by participants in

the horse racing industry, generally, by the brand name "Epogen,"

or by the             shorthand "epo."     Erythropoietin     is   used to     boost   a

racehorse's red blood cell count in order to stimulate endurance

during       a   race     and   improve   race   recovery.    IZHAKI   and    LEBOWITZ

obtained the eythropoietin they distributed                   (the "Firm-1 Drug")

from     a       Mexico-based      drug     manufacturing     company        ( "Firm-1")

operating without a license to import drugs into the United States.

                 4.      The Firm-1 Drug was misbranded and/or adulterated

in several respects pursuant to the Federal Food, Drug and Cosmetic

Act,   21 U.S.C.         §   301, et seq.    ("FDCA") and related regulations.

The Firm-1 Drug (1) did not have requisite approvals from the Food

and Drug Administration ("FDA") for use in an animal;                   (2) required

a prescription but was administered without a valid prescription;

(3) was deficiently labeled, for example~ by not accurately listing

details regarding the manufacturer,                packer,    or distributor,        the

contents of the packaging,                or directions for use of the Firm-1



                                             2
         Case 1:20-cr-00161-MKV Document 2 Filed 02/26/20 Page 3 of 10



Drug; and (4) was manufactured at a facility not duly registered

by the FDA.

               5.        In addition to the Firm-1 Drug,            SARAH IZHAKI and

ASHLEY LEBOWITZ,            the    defendants,     offered for      sale   a   "masking"

substance       designed      to    conceal   the       presence   of   illicit   drugs,

including the Firm-1 Drug, from detection during anti-PED testing.

                                  Statutory Allegations

               6.        From at least in or about August 2019 through at

least in or about October 2019,                   in the Southern District of New

York     and    elsewhere,         SARAH   IZHAKI       and   ASHLEY    LEBOWITZ,    the

defendants, together with others known and unknown, willfully and

knowingly did combine,             conspire, confederate, and agree together

and with each other to commit offenses against the United States,

to wit, violations of Title 21, United States Code, Sections 331

and 3 3 3 (a) ( 2 ) .

               7.        It was a part and an object of the conspiracy that

SARAH IZHAKI and ASHLEY LEBOWITZ,                   the defendants,      together with

others known and unknown, with the intent to defraud and mislead,

would and did introduce and deliver for introduction,                          and would

and did cause the introduction and delivery for introduction, into

interstate commerce, adulterated and misbranded drugs, as defined

by 21 U.S.C.        §§   351(a) (5), 352(a), 352(b), 352(f), 352(0), 353(f),

and 360b, in violation of 21 U.S.C.                 §   331(a) and 333(a).



                                              3
         Case 1:20-cr-00161-MKV Document 2 Filed 02/26/20 Page 4 of 10



                8.         It    was    further      a     part       and        an        object    of    the

conspiracy that SARAH IZHAKI and ASHLEY LEBOWITZ, the defendants,

together with others known and unknown, with the intent to defraud

and mislead, in interstate commerce, would and did adulterate and

misbrand        drugs,          and would      and       did    cause      the        adulteration         and

misbranding of drugs, as defined by 21 U.S.C.                               §§   35l(a) (5), 352(a),

352(b), 352(f), 352(0), 353(f), and 360b, in violation of 21 U.S.C.

§   3 31 (b) and 3 3 3 (a) ( 2) .

                9.         It    was    further      a     part       and        an        object    of    the

conspiracy that SARAH IZHAKI and ASHLEY LEBOWITZ, the defendants,

together with others known and unknown, with the intent to defraud

and     mislead,           would       and    did    receive          in    interstate              commerce

adulterated          and misbranded            drugs,          as    defined          by    21   U.S. C.    §§

351 (a) (5),     352 (a),         352 (b),    352 (f),     352 (o),        353 (f), and 360b, and

deliver and proffer delivery thereof for pay and otherwise,                                                and

would     and        did    cause       the    receipt          in    interstate             commerce       of

adulterated          and misbranded            drugs,          as    defined by             21   U.S.C.     §§

351 (a) (5),     352 (a),         352 (b),    352 (f),     352 (o),        353 (f),         and 360b, and

cause     the    deli very         and proffered deli very thereof                            for   pay and

otherwise, in violation of 21 U.S.C. § 33l(c) and 333(a) (2).

                                              Overt Acts

                10.        In furtherance of the conspiracy and to effect the

illegal objects thereof,                     SARAH IZHAKI            and ASHLEY LEBOWITZ,                  the

defendants, and others known and unknown, committed the following

                                                     4
      Case 1:20-cr-00161-MKV Document 2 Filed 02/26/20 Page 5 of 10



overt acts, among others, in the Southern District of New York and

elsewhere:

                 a.    On    or     about        August           8,      2019,       LEBOWITZ

distributed    approximately      five        vials    of   the        Firm-1     Drug    to   a

confidential   source posing as           a    horse    trainer           ( "CS-1")    in the

vicinity of Englishtown, New Jersey, in exchange for approximately

$500. Photographs of these substances,                 as sold and delivered to

CS-1 by LEBOWITZ, follow:




                 b.    On or about September 24,                       2019,    IZHAKI sold

CS-1 ten vials of the Firm-1 Drug, at which time IZHAKI explained

to CS-1, in substance and in part, that IZHAKI and others covertly

transport the drugs into the United States.

                 c.    On   or    about       October       17,        2019,    CS-1     called

IZHAKI and arranged to purchase $5,000 worth of the Firm-1 Drug.

During that call,     IZHAKI explained to CS-1,                   in substance and in

part, that she had recently depleted a supply of amphetamines, as

well as another substance referred to as "The Devil," which IZHAKI


                                          5
         Case 1:20-cr-00161-MKV Document 2 Filed 02/26/20 Page 6 of 10



described as a masking agent,                 i.e.,   a substance used to disguise

the presence of other drugs in a human or animal's body.                            IZHAKI

represented that "The Devil" was "[s]omething very new, you put it

in the horse, you can use coke: it will come back negative."

                       d.     On     or     about     October    24,      2019,     IZHAKI

distributed 24 vials of the Firm-1 Drug to an undercover agent

posing    as    a    horse    owner       ("UC-1"),   in Manhattan,       New     York,    in

exchange       for   $2,400.       During this· meeting,        IZHAKI    explained,       in

substance and in part,               that LEBOWITZ had recently sold a               large

quantity       of    the    Firm-1    Drug.    IZHAKI   also    offered    to     sell    the

"Devil's Breath" to UC-1,                 explaining the masking power of that

substance: "You can kill somebody with poison, and you can clean

the blood as long as he is still alive." Photographs of the Firm-

1 Drug, as sold and delivered to CS-1 by IZHAKI, follow:




                (Title 18, United States Code, Section 371.)



                                               6
       Case 1:20-cr-00161-MKV Document 2 Filed 02/26/20 Page 7 of 10




                                        COUNT TWO
                                       (Smuggling)

            The Grand Jury further charges:

            11.    The allegations          set    forth    above   in Paragraphs          1

through 5 and 10, are realleged and incorporated by reference as

if set fully forth herein.

            12.    From at least in or about August 2019, through at

least in or about October 2019,                 in the Southern District of New

York and elsewhere, SARAH IZHAKI, the defendant, fraudulently and

knowingly imported and brought into the United States merchandise

contrary    to    law,     and    received,       concealed,     bought,      sold,      and

facilitated      the     transportation,        concealment,      and   sale       of   such

merchandise      after     importation,         knowing    the   same   to    have      been

imported and brought into the United States contrary to law,                              to

wit,   IZHAKI     imported       and   caused     the   importation,        concealment,

purchase, and sale of adulterated and misbranded drugs not reported

to United States Customs and Border Protection, contrary to Title

19, United States Code, Section 1484, and Title 21, United States

Code, Section 331.

           (Title 18, United States Code, Sections 545                  &    2.)

                             FORFEITURE ALLEGATIONS

            13.    As a result of committing the offense alleged in

Count Two of this Indictment, SARAH IZHAKI, the defendant, shall

forfeit to the United States, pursuant to Section 982 (a) (2) (B),

                                            7
         Case 1:20-cr-00161-MKV Document 2 Filed 02/26/20 Page 8 of 10



any and all property constituting, or derived from, proceeds the

defendant     obtained directly or         indirectly,   as   a   result   of the

commission of said offense, including but not limited to a sum of

money in United States currency representing the amount of proceeds

traceable to the commission of said offense.

                         Substitute Asset Provision

             14.    If any of the above described forfeitable property,

as a result of any act or omission of the defendant:

                    a.   Cannot be located upon the exercise of due

diligence;

                    b.   Has been transferred or sold to, or deposited

with, a third person;

                    c.   Has been placed beyond the jurisdict~on of the

Court;

                    d.   Has been substantially diminished in value; or

                    e.   Has been commingled with other property which

cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 18, United

States Code,       Section 1963 (m)   and Title 21,      United States Code,




                                       8
      Case 1:20-cr-00161-MKV Document 2 Filed 02/26/20 Page 9 of 10



Section 853(p), to seek forfeiture of any other property of said

defendants up to the value of the forfeitable property.

    (Title 18, United States Code, Sections 982, and Title 21,
                United States Code, Section 853.)




                                        United States Attorney




                                    9
Case 1:20-cr-00161-MKV Document 2 Filed 02/26/20 Page 10 of 10




              UNITED STATES DISTRICT COURT
              SOUTHERN DISTRICT OF NEW YORK


                 UNITED STATES OF AMERICA

                                   - v. -

            SARAH IZHAKI and ASHLEY LEBOWITZ,

                             Defendants.


                        SEALED INDICTMENT

                                   20 Cr.

                (18    u.s.c.      §§   371, 545   &   2)

                       GEOFFREY S. BERMAN"
                  United States Attorney.




                 5ro\-e<l, \(\dlC-\-fDQX)..\-- f;'1-cd
                      Av-r-e&\'-    NcPUCLn.--\- \V\e,lod--ed

                                                                  Sa,a.h      L,. Co\}-e__

                                                                ---u.5 J--t   -J .
